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PENACHIO MALARA LLP                                                   HEARING DATE & TIME:
245 Main Street-Suite 450                                             AUGUST 1, 2019 AT 10:00 AM
White Plains, NY 10601
(914) 946-2889
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

In re:                                                                           CHAPTER 13

LESLIE SCHNEIDERMAN,                                                             Case No.: 18-23175-rdd
                                                       Debtor.

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                          STATUS REPORT ON LOSS MITIGATION AND
                         THE DEBTOR’S OPPOSITION TO THE TRUSTEE’S
                                MOTION TO DISMISS HIS CASE

             LESLIE SCHNEIDERMAN, the above-referenced debtor herein (the “Debtor”),

   by and through his attorneys, PENACHIO MALARA, LLP, submits this status report

   and opposition to the Trustee’s Motion to Dismiss.

             1.     At the outset of this case, the Debtor sought Loss Mitigation for non-retention

   options with respect to his home at 11 Old Orchard Road, Rye Brook, NY (the "Home").

   Loss Mitigation was terminated. Although the Debtor tried to sell his home, he was unable

   to agree to terms with a prospective buyer. The Debtor has decided to surrender the Home

   to the secured lender, Rushmore.

             2. Under his Chapter 13 plan, the Debtor is required to remit to the Trustee $185.00

   per month for sixty months. Secured tax claims will need to be reclassified with the

   surrender of the Home. The tax liabilities emanate from 2011 and 2013 and shortly

   thereafter and may be dischargeable in full or in part.

             3. The Debtor would like to explore whether the tax claims can be reduced or
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  reclassified.

          4. Counsel, who worked very hard on the Debtor’s case, would like to make a fee

  application prior to any dismissal.

             WHEREFORE, it is respectfully requested that the Trustee’s motion be deferred

  and to enable the Debtor explore alternate exit strategies.

  Dated: White Plains, New York
         August 1, 2019
                                                                Respectfully submitted,

                                                                /s/ Anne Penachio
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